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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 ARTHUR J. GALLAGHER & CO.,                            )
                                                       ) Case No.: 1:22-cv-03931
                Plaintiff,                             )
                                                       )
        v.                                             ) DEMAND FOR JURY TRIAL
                                                       )
 ALLIANT INSURANCE SERVICES, INC.,                     )
                                                       )
                Defendant.                             )
                                                       )

                             PLAINTIFF’S MOTION FOR LEAVE TO
                             FILE BRIEF IN EXCESS OF PAGE LIMIT

       Plaintiff Arthur J. Gallagher & Co. (“Gallagher”) respectfully seeks leave to exceed the

15-page limit in Local Rule 7.1 on its Memorandum of Law in Support of Plaintiff’s Emergency

Motion for a Temporary Restraining Order and Preliminary Injunction (“TRO Memorandum”). In

support of this Motion, Gallagher states as follows:

       1.      On July 28, 2022, Gallagher filed an action in this Court alleging Illinois state law

claims for tortious interference with contract, tortious interference with prospective economic

advantage, aiding and abetting breach of fiduciary duty, and conspiracy. (Dkt. 1.)

       2.      Gallagher is jointly filing with this Motion an Emergency Motion for Temporary

Restraining Order and Preliminary Injunction in order to prevent Defendant Alliant Insurance

Services, Inc. (“Alliant”) from continuing to, among other things, unlawfully solicit Gallagher

clients and use, possess, or disclose any of Gallagher’s confidential information (“Motion for

Temporary Restraining Order”).

       3.      Gallagher seeks leave to file its TRO Memorandum of no longer than 33 pages.

Additional pages are needed to sufficiently explain the factual background of the case, detail
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Alliant’s unlawful “leveraged hire strategy,” and to thoroughly address Gallagher’s legal positions.

Because Alliant’s unlawful conduct is so egregious and there is so much evidence that establishes

the need for injunctive relief, Gallagher requires additional pages to adequately address in the

context of the Motion for Temporary Restraining Order, the grounds for which it would be

successful on the merits for each of its claims against Alliant.

       WHEREFORE, for the reasons set forth above, Gallagher respectfully requests leave to

file a memorandum of law in support of the Emergency Motion for Temporary Restraining Order

and Preliminary Injunction in excess of the 15-page limit.

DATED:         July 28, 2022
                                                      Respectfully submitted,

                                                      /s/ Ronald S. Safer________________
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